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      IT IS SO ORDERED this 2nd
                             nd day of May, 2012.



                                      ________________________________
                                      ______________________
                                      Gloria
                                      Glooria M. NNavarro
                                                    avarro
                                      United                   Judge
                                      Unniteed States District Jud
